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                      UNITED STATES DISTRICT COURT FOR THE
                       EASTERN DISTRICT OF PENNSYLVANIA

EARL REESE                                         )
WALTER CHRUBY                                      )
STEPHEN OROSZ, JR.                                 )
MICHAEL VEON                                       )
LARRY BAGEANT                                      )
LUANN BOUVIER                                      )
WESLEY HARPER                                      )    Civil Action No._______________
ROBERT HOLMES                                      )
STEPHEN AND EMILY OROSZ                            )
CARL PETERKIN                                      )
STEPHANIE VEON                                     )
LEWIS BROOKS                                       )    CLASS ACTION COMPLAINT
                                                   )
individually and on behalf of                      )    JURY TRIAL DEMANDED
all others similarly situated,                     )
                                                   )
                       Plaintiffs,                 )
                                                   )
v.                                                 )
                                                   )
GLOBAL TEL*LINK CORPORATION                        )
                                                   )
                       Defendants.                 )
                                                   )
                                                   )
                                                   )

                                         COMPLAINT

       1.      Plaintiffs, individually and on behalf of all others similarly situated, bring this

class action under the Federal Communications Act, 47 U.S.C. §§ 201, 206, 207 and 276, et seq.,

(the “FCA”), the common law of unjust enrichment and the Pennsylvania Unfair Trade Practices

and Consumer Protection Law, (UTPCPL) 73 P.S. § 201-1 et seq. seeking damages, costs of suit,

and other relief, against Defendant Global Tel*Link Corporation (“GTL”)           for its   unjust,

unreasonable, unfair and deceptive conduct from January 1, 2000, through the present (the

“Class Period”). During the Class Period, Defendant has charged, and in many cases continues to

charge, exorbitant rates and fees-up to 100 times normal market rates for intrastate telephone
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calls to and from inmates pursuant to exclusive contracts with correctional facilities throughout

the United States (including Pennsylvania).1

       2.         The following allegations are based on personal knowledge as to Plaintiffs’ own

conduct and are made on information and belief as to all other matters based on an investigation

by counsel.

                                               PARTIES

       3.         Plaintiff Earl Reese is a citizen of Pennsylvania and is incarcerated at Philadelphia

House of Corrections. He has been incarcerated since 2000, serving time at the Philadelphia

House of Corrections, SCI-Camp Hill and SCI- Hackville. He has been and is being forced to

pay Defendant GTL unjust, unreasonable and unfair amounts for intrastate phone calls. Plaintiff

Reese is willing and able to serve as a class representative.

       4.         Plaintiff Walter Chruby is a citizen of Pennsylvania and is incarcerated at SCI

Laurel Highlands. Plaintiff Chruby has been incarcerated since 1995, serving his time at various

facilities including SCI-Camp Hill, SCI – Coal Township, SCI-Pittsburgh, and SCI – Laurel

Highlands. He has been and is being forced to pay Defendant GTL unjust, unreasonable and

unfair amounts for intrastate phone calls. Plaintiff Chruby is willing and able to serve as a class

representative.

       5.         Plaintiff Stephen Orosz, Jr. is a citizen of Pennsylvania and is incarcerated at SCI

Laurel Highlands. Plaintiff Orosz, Jr. has been incarcerated since 1985. He has been and is

being forced to pay Defendant GTL unjust, unreasonable and unfair amounts for intrastate phone

calls. Plaintiff Orosz is willing and able to serve as a class representative.

1
   At the outset, Plaintiffs note that this complaint is limited to charges and fees for intrastate
telephone calls, and does not include the charges and fees charged for interstate telephone calls.




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       6.       Plaintiff Michael Veon is a citizen of Pennsylvania and is incarcerated at SCI

Laurel Highlands. Plaintiff Michael Veon has been incarcerated since 2010. He has been and is

being forced to pay Defendant GTL unjust, unreasonable and unfair amounts for intrastate phone

calls. Plaintiff Veon is willing and able to serve as a class representative.

       7.       Plaintiff Larry Bageant is a citizen of Pennsylvania and is incarcerated at SCI

Laurel Highlands. Plaintiff Bageant has been incarcerated for eleven years. He has been and is

being forced to pay Defendant GTL unjust, unreasonable and unfair amounts for intrastate phone

calls. Plaintiff Bageant is willing and able to serve as a class representative.

       8.       Plaintiff Luann Bouvier resides at 101 Highland Avenue, East Pittsburgh,

Pennsylvania PA 15112. Plaintiff Bouvier has an incarcerated family member, and has been and

is forced to pay Defendant GTL unjust, unreasonable and unfair amounts for intrastate phone

calls. Plaintiff Bouvier is willing and able to serve as a class representative.

       9.       Plaintiff Wesley Harper is a resident of Pennsylvania and is incarcerated at SCI

Laurel Highlands. Plaintiff Harper has been incarcerated since 1969. He has served his time at

Smithville as well as SCI-Laurel Highlands. He has been and is being forced to pay Defendant

GTL unjust, unreasonable and unfair amounts for intrastate phone calls. Plaintiff Harper is

willing and able to serve as a class representative.

       10.      Plaintiff Robert Holmes is a resident of Pennsylvania and is incarcerated at SCI

Laurel Highlands. Plaintiff Holmes has been incarcerated since 1995. He has served his time at

Crescent as well as SCI-Laurel Highlands. He has been and is being forced to pay Defendant

GTL unjust, unreasonable and unfair amounts for intrastate phone calls. Plaintiff Holmes is

willing and able to serve as a class representative.




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       11.      Plaintiffs Stephen and Emily Orosz reside at 243 Highland Avenue, East

Pittsburgh, Pennsylvania, PA 15112. The Orosz Plaintiffs have a family member incarcerated at

SCI Laurel Highlands, and have been and are being forced to pay Defendant GTL unjust,

unreasonable and unfair amounts for intrastate phone calls. They are willing and able to serve as

class representatives.

       12.      Plaintiff Carl Peterkin is a resident of Pennsylvania and is incarcerated at SCI

Laurel Highlands. Plaintiff Peterkin has been incarcerated since 2005, and has served his time at

Rockville as well as SCI-Laurel Highlands. He has been and is being forced to pay Defendant

GTL unjust, unreasonable, unfair and deceptive amounts for intrastate phone calls. Plaintiff

Peterkin is willing and able to serve as a class representative.

       13.      Plaintiff Stefanie Veon resides at 1617 Concordia Street, Pittsburgh, PA 15210.

She has a family member incarcerated at SCI Laurel Highlands, and has been and is being forced

to pay Defendant GTL unjust, unreasonable, unfair and deceptive amounts for intrastate phone

calls. Plaintiff Veon is willing and able to serve as a class representative.

       14.      Plaintiff Lewis Brooks is a citizen of Pennsylvania and is incarcerated at SCI

Fayette. He has been incarcerated since 2012, serving time at CFCF Prison in Philadelphia, SCI-

Graterford, SCI-Camp Hill and SCI-Fayette. He has been and is being forced to pay Defendant

GTL unjust, unreasonable and unfair amounts for intrastate phone calls. Plaintiff Brooks is

willing and able to serve as a class representative.

       15.      Defendant GTL is owned, in part, by the private equity firm American Securities

LLC and operates through wholly owned subsidiaries to provide inmate telephone services

throughout the United States. GTL’s corporate headquarters is located at 12021 Sunset Hills

Road, Suite 100, Reston, Virginia 20190. Operating subsidiaries of GTL during the Class




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Period include, among others: Inmate Telephone Services ("ITS"), a Delaware corporation

headquartered in Mobile, Alabama; DSI-ITI, LLC (“DSI-ITI”), a Delaware limited liability

company headquartered in Altoona, Pennsylvania and the successor-in-interest to ITS' contracts

as of June 20, 2010; Value-Added Communications, Inc. (“VAC”), a Delaware corporation

headquartered in Plano, Texas; and Public Communications Services, Inc. (“PCS”), a California

corporation headquartered in Los Angeles, California.

       16.      GTL and its subsidiaries serve over 2,200 correctional facilities and 1.1 million

inmates in forty-eight states. GTL and its subsidiaries provide inmate telephone services

pursuant to contracts with twenty-nine states (including Pennsylvania) and contracts with over

800 counties (including in Pennsylvania). GTL also provides inmate telephone services to the

Federal Bureau of Prisons.

                                JURISDICTION AND VENUE

       17.      Jurisdiction is proper in this Court pursuant to 28 U.S. C. § 1331 because this

matter involves a federal question, i.e., whether GTL violated 47 U.S.C. §§ 201 and 276, et seq.

The Court has supplemental jurisdiction over Plaintiffs’ state law claims because they arise from

a common nucleus of operative facts and are such that Plaintiffs ordinarily would expect to try

both them and the claim involving a federal question in one judicial proceeding.

       18.      Jurisdiction is also proper in this Court pursuant to 28 U.S.C. § 1332(d) because

the amount in controversy exceeds $5 million, exclusive of interest and costs, and at least one

Class Member is a citizen of a state other than that of Defendant.

       19.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) in that Defendant

transacts substantial business within, and is subject to personal jurisdiction in, this District and

thus "resides" in this District. Venue is also proper in this District pursuant to 28 U.S.C. §




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1391(b) because a substantial part of the events giving rise to the claims asserted herein took

place in this District.

                            DEFENDANTS’ UNLAWFUL CONDUCT

         20.      Inmates are literally a captive market for GTL, which provides intrastate pay

telephone services in prisons, jails, and other correctional facilities. As noted by the FCC, there

are no competitive market forces to constrain the prices set by GTL.2

         21.      Defendant GTL has secured for itself the right to provide intrastate telephone

services to hundreds of thousands of inmates through exclusive contracts with thousands of

correctional facilities. As a result of the monopolies created by these exclusive contracts, GTL

faces little or no market competition to challenge increasing intrastate telephone rates.3

         22.      In return for this monopoly power, GTL provided kickbacks, masqueraded as

“site commissions,” to the contracting correctional facilities, including those in Pennsylvania.

As a result of the absence of competition, “[f]amilies of incarcerated individuals often pay

significantly more to receive a single 15-minute call from prison than for their basic monthly

phone service.”4

         23.      The market rates for competitively priced prepaid calling cards are approximately

$0.01 to $0.02 per minute for calls within the United States. Similarly, prepaid calling card rates




2
  See In re Rates for Interstate Inmate Calling Servs., 28 FCC Rcd. 14107, 14129 (F.C.C. Sept.
26, 2013) (“Interstate Inmate Calling Servs. I”).
3
  See Securus Techs., Inc. v. Federal Communications Commission, No. 13-1280, Dkt. No.
1470786, p.3 (D.C. Cir. filed Dec. 16, 2013) (the “FCC Opp.”) (stating that “each provider is a
monopoly in a given facility”).
4
    Interstate Inmate Calling Servs. I, 28 FCC Rcd. at 14130.




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for international calls can be as low as $0.01 per minute, depending upon the country being

called.

          24.      GTL, however, charges inmates vastly more – ten times (or in some instances)

more per minute5 – for intrastate calls within the United States, not including unjust,

unreasonable, unfair and deceptive per call connection fees.

          25.      Illustrating the unreasonableness of the intrastate rates it charges, GTL purchases

minutes for calls terminating within the United States from connection carriers for less than a

penny per minute. Yet GTL resells these minutes at more than 100 times their cost to Plaintiffs

and the Class.

          26.      Further demonstrating how it takes advantage of these exclusive dealing contracts

to overcharge inmates, GTL “charge[s] widely varying rates in the different facilities they serve,

notwithstanding their ability to share the costs of serving multiple facilities using centralized call

routing and management and security platforms.”6

          27.      Payment of kickbacks by inmate telephone service providers is substantial, with

reports estimating that kickbacks paid to correctional facilities exceed $124 million per year.7

          28.      In addition, Defendant GTL imposed (and imposes) unnecessary and

unconscionable fees and charges on accounts used for inmate telephone calls. Reasonable




5
 See John E. Dannenberg and Alex Friedmann, FCC Order Heralds Hope For Reform of Prison
Phone Industry, Chart B- Intrastate ICS Rates, InterLATA Rates (2012-2013), Prison Legal
News,      Vol.      24,      No       12      (December        2013)     available   at
www.prisonlegalnews.org/media/issues/12pln13.pdf (visited Apr. 23, 2015).
6
    Interstate Inmate Calling Servs. I, 28 FCC Rcd. at 14126.
7
    FCC Order Heralds Hope for Reform of Prison Phone Industry, supra. note 4, at Chart D.




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discovery will show that Defendant GTL refused to refund amounts not expended on telephone

calls, and imposed myriad fees and charges that lacked any relationship to GTL’s costs.

          29.      During rulemaking proceedings, the Federal Communications Commission (the

“FCC”) looked at whether interstate charges were “unreasonably high, unfair, and far in excess

of the cost of providing service.”8 The FCC concluded that they were, and that GTL and similar

companies “exploited [their] economic position by charging rates for interstate calls greatly

exceeding the cost of providing service, in direct violation of the requirements of Sections 201

and 276 of the [FCA] that those rates be just, reasonable, and fair.”9 Likewise the FCC has

concluded that “[they] believe the same legal and policy concerns identified in the Order apply

equally with regard to high intrastate rates.”10

          30.      More particularly, during rulemaking proceedings regarding the rates and fees

charged to inmates, the FCC concluded that:

          •        Under existing law, commission payments to correctional facilities are profit-
                   sharing kickback arrangements and “are not a . . . category of . . . costs”
                   recoverable from end-users in the rates charged for interstate telephone calls.
                   Interstate Inmate Calling Servs. I, 28 FCC Rcd. at 14135-37.

          •        Because correctional facilities grant the monopoly franchise partly on the basis of
                   the commission payment offered, “competition” among providers produces
                   increased commission payments and higher end-user charges. See Id. at 14129.

          •        As a result, inmate telephone rates have “inflict[ed] substantial and clear harm on
                   the general public (and not merely on private interests)” and must be rejected
                   under existing legal precedent. Interstate Inmate Calling Servs. II, 28 FCC Rcd. at
                   15938.


8
  In re Rates for Interstate Inmate Calling Servs., 40, 15929 (F.C.C. Nov. 21, 2013) (“Interstate
Inmate Calling Servs. II”).
9
     FCC Opp., at p. 1.
10
     Interstate Inmate Calling Servs. I, 28 FCC Rcd. at 14174.




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           •         With regard to certain per call charges, “[t]he record indicates that these per call
                    charges are often extremely high and therefore, unjust, unreasonable and unfair
                    for a number of reasons.” Interstate Inmate Calling Servs. I, 28 FCC Rcd. at
                    14154- 55.

           •        Thus, “for many years, interstate [inmate telephone service] rates have been
                    unreasonably high, unfair, and far in excess of the cost of providing service.”
                    Interstate Inmate Calling Servs. II, 28 FCC Rcd. at 15929-30 (emphasis added).

           31.      As more specifically relates to intrastate rates, the FCC has stated that:

           •        “[W]e conclude that competition and market forces have failed to ensure just,
                    reasonable, and fair interstate ICS rates, and, for the same reasons, we tentatively
                    conclude that the same failure has occurred for intrastate ICS rates as well.”
                    Interstate Inmate Calling Servs. I, 28 FCC Rcd. at 14174- 75.

           •        “For the same reasons we found that site commission payments are not part of the
                    cost of providing interstate ICS, we tentatively conclude that site commissions
                    should not be recoverable through intrastate rates[.]” Interstate Inmate Calling
                    Servs. I, 28 FCC Rcd. at 14175.

           32.      As demonstrated above, the FCC has unequivocally determined that interstate ICS

providers have, for many years, violated the FCA by incorporating commission payments and

other unjust and unreasonable fees and costs into its charges for interstate calls. As the ICS

Orders expressly reflects, the same analysis applies to the cost structure utilized for intrastate

calls.11

           33.      Although the FCC has not yet issued final rulemaking governing intrastate calls,

as made clear by the FCC, the same reasoning and expertise as was applied by the FCC to

interstate calls applies to intrastate calls as Defendant incorporated the kickbacks into their cost

structures for intrastate charges in the same fashion as the interstate calls.12




11
     Interstate Inmate Calling Servs. I, 28 FCC Rcd. at 14173-78.
12
     FCC Order Heralds Hope for Reform of Prison Phone Industry, supra. note 4




                                                      9
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          34.   Beginning by at least 1998, GTL has known that it was unlawful to charge

intrastate rates that violated Sections 201 and 276 of the FCA. In 1998, the FCC determined that

inmate telephone service rates “must conform to the just and reasonable requirements of Section

201.”13

          35.   Accordingly, the FCC's September 2013 and November 2013 orders do not create

a new obligation on GTL; rather, they simply confirm Defendant's longstanding legal obligations

– obligations they violated throughout the Class Period.

          36.    As a result of GTL’s imposition of exorbitant, unfair, unjust and unreasonable

intrastate charges for inmate telephone services during the Class Period and Plaintiffs and

members of the Class have been damaged.

                                           TOLLING

          37.   In 2000, a class action complaint was brought against several inmate telephone

service providers alleging violations of the FCA based on some of the conduct alleged herein.14

Additionally, current and former inmates petitioned the FCC as early as 2003 to address inmate

telephone rates.

          38.   As a result of the ongoing FCC review of the rates, some courts have dismissed

complaints alleging violations of the FCA, including the one filed in 2000, on the basis of




13
   See Billed Party Preference For Interlata 0+ Calls, 13 FCC Rcd. 6122, 6156 (FCC Jan. 29,
1998) (finding that inmate telephone rates “must conform to the just and reasonable requirements
of Section 201”).
14
     See Wright v. Corrections Corporation of America, et al., No. 00-cv-0293-GK (D.D.C.).




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“primary jurisdiction” and deferred judgment to the FCC, effectively staying the cases pending

the FCC’s final determination.15

           39.   As noted by U.S. District Judge Gladys Kessler in 2001, “the Court expects the

[FCC] to move with dispatch to conclude its ongoing proceedings so as to provide both courts

and parties with meaningful analysis and guidance on these issues.”16

           40.   As alleged herein, the FCC has finally and conclusively determined that charges

for ICS incorporating commissions and other unjustified amounts unrelated to costs were unjust

and unreasonable in violation of the FCA – the “analysis and guidance” referenced by Judge

Kessler.

           41.   As noted above, a finding of liability in this action would not be a “retroactive

application” of a new law or regulation because the FCC has merely clarified existing law in its

recent findings that ICS providers have violated the FCA.

           42.   GTL has thus been on notice since as early as 2000 that its conduct likely violated

the FCA. There is no longer a risk of conflicting adjudications in private litigation given that the

FCC has exercised its technical expertise and determined that the kickbacks cannot be included

as reasonable costs. As a result, the claims alleged herein are ripe for disposition.




15
   See, e.g., Wright, No. 00-cv-0293-GK, Dkt. No. 94 (D.D.C. Aug. 22, 2001) (dismissing class
action complaint and concluding “the FCC is clearly in the best position to resolve the core
issues in this case, namely the reasonableness of the rates charged” and noting that “[a]fter the
FCC does so ... the Court will have the benefit of the agency’s expert findings in addressing
them”).
16
     Id.




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                                    CLASS ALLEGATIONS

       43.     Plaintiffs bring this action, on behalf of themselves and all others similarly

situated, as a class action pursuant to FED. R. CIV. P. 23. Plaintiffs seek to represent a class,

defined as follows:

               all persons in the United States who, at any time since 2000, have
               paid to use the telephone systems provided by GTL or its
               subsidiaries in order to make or receive intrastate telephone calls
               involving a person incarcerated in any state in the United States
               (the “Class”).

       44.     Additionally Plaintiffs seek to represent a subclass defined as follows:

               all citizens of Pennsylvania who, at any time since 2000, have paid
               to use the telephone systems provided by GTL or its subsidiaries in
               order to make or receive intrastate telephone calls involving a
               person incarcerated in Pennsylvania (the “Pennsylvania Sub-
               Class”).

       45.     Excluded from the Classes are any persons who paid to use the telephone systems

provided by GTL or its subsidiaries in order to make or receive intrastate telephone calls in the

State of New Jersey.17

       46.     This action is brought and properly may be maintained as a class action pursuant

to the provisions of FED. R. CIV. P. 23(a)(l)-(4) and 23(b)(l), (b)(2), or (b)(3) and satisfies the

requirements thereof.

       47.     The members of the Class are so numerous that individual joinder of all the

members is impracticable. On information and belief, there are not fewer than tens of thousands

of persons who have been affected by Defendant's conduct. The precise number of Class


17
   Claims on behalf of a class of individuals making calls to or receiving calls from inmates in
the State of New Jersey are currently pending against GTL and certain of its subsidiaries in
existing litigation in the District of New Jersey. See James v. Global Tel* Link, et al., No. 13-cv-
4989 (D.N.J.).




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Members and their addresses are presently unknown to Plaintiffs, but may be ascertained from

Defendant’s books and records. Class Members may be notified of the pendency of this action by

recognized, Court-approved notice dissemination methods, which may include U.S. Mail,

electronic mail, Internet postings, and/or published notice.

       48.     Common questions of law and fact exist as to the Class, as required by FED. R.

CIV. P. 23(a)(2), and predominate over any questions that affect only individual Class Members

within the meaning of FED. R. CIV. P. 23(b)(3). The common questions of law and fact include,

but are not limited to, the following:

               (a)     whether Defendant has charged unreasonable and unjust intrastate
                       telephone rates and fees;

               (b)     whether Defendant has charged telephone rates and fees that greatly
                       exceed costs of providing intrastate service;

               (c)     whether Defendant has failed to fully and adequately disclose to Plaintiffs
                       and the Class telephone rates and fees that they will be, and have been,
                       charged when Plaintiffs and the Class make or receive intrastate telephone
                       calls involving an incarcerated person;

               (d)     whether, through the acts and practices complained of herein, Defendant
                       violated §201(b) and §276 of the FCA and regulations thereunder;

               (e)     whether, through the acts and practices complained of herein, Defendant
                       was unjustly enriched;

               (f)     whether, through the acts and practices complained of herein, Defendant
                       violated the UTPCPL, 73 P.S. § 201-1 et seq., by engaging in deception
                       and charging Plaintiffs unreasonable, unjust and unfair amounts for
                       intrastate telephone calls;

               (g)     whether, through the acts and practices complained of herein, Defendant
                       violated the UTPCPL, 73 P.S. § 201-1 et seq., by charging Plaintiffs
                       deceptive or fraudulent fees (apart from the per minute rates); and

               (h)     whether Plaintiffs and the Class have been damaged by Defendant’s acts
                       and practices complained of herein, and if so, the measure of those
                       damages and the nature and extent of any other relief that should be
                       granted.




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       49.     Plaintiffs’ claims are typical of the claims of the Class they seek to represent

under FED. R. CIV. P. 23(a)(3) because Plaintiffs and the Class have been subjected to the same

wrongful practices and have been damaged thereby in the same manner.

       50.     Plaintiffs will fairly and adequately represent and protect the interests of the Class

as required by FED. R. CIV. P. 23(a)(4). Plaintiffs are adequate representative of the Class

because they have no interests that are adverse to the interests of the Class. Plaintiffs are

committed to the vigorous prosecution of this action and, to that end, Plaintiffs have retained

counsel who are competent and experienced in handling class action litigation on behalf of

consumers.

       51.     A class action is superior to any other available means for the fair and efficient

adjudication of this controversy, and no unusual difficulties are likely to be encountered in the

management of this class action. The damages or other financial detriment suffered by Plaintiffs

and each Class Member are relatively small compared to the burden and expense that would be

required to individually litigate their claims against Defendant, so it would be impracticable for

each Class Member to individually seek redress for Defendant's wrongful conduct. Even if Class

Members could afford individual litigation, individualized litigation creates a potential for

inconsistent or contradictory judgments, and increases the delay and expense to all parties and

the court system. By contrast, the class action device presents far fewer management difficulties,

and provides the benefits of single adjudication, economy of scale, and comprehensive

supervision by a single court.

       52.     In the alternative, this action is certifiable under the provisions of FED. R. CIV. P.

23(b )(1) and/or 23(b )(2) because:

               (a)    the prosecution of separate actions by individual Class Members would
                      create a risk of inconsistent or varying adjudications with respect to



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                          individual Class Members that would establish incompatible standards of
                          conduct for Defendant; and

                (b)       the prosecution of separate actions by individual Class Members would
                          create a risk of adjudications as to them that would, as a practical matter,
                          be dispositive of the interests of the other Class Members not parties to the
                          adjudications or substantially impair or impede their ability to protect their
                          interests.

        53.     Defendant has acted or refused to act on grounds generally applicable to the

Class, thereby making appropriate final injunctive relief or corresponding declaratory relief with

respect to the Class as a whole and necessitating that any such relief be extended to Class

Members on a mandatory, class wide basis.

        54.     Plaintiffs are aware of no difficulty that will be encountered in the management of

this litigation that will preclude its maintenance as a class action.


                                      COUNT I
               VIOLATION OF THE FEDERAL COMMUNICATIONS ACT,
                        47 U.S.C. § 201 AND § 276, ET SEQ.
                      (ON BEHALF OF NATIONWIDE CLASS)

        55.     Plaintiffs hereby incorporate by reference all paragraphs of this Complaint as if

fully set forth herein.

        56.     Under§ 201(a) and § 276 of the FCA, Defendant is a common carrier engaged in

interstate and intrastate wire communications for the purpose of furnishing such communication

services.

        57.     The telephone rates and fees charged by Defendant, as alleged above, are unjust,

unreasonable, and unfair, in violation of § 201 (b) and/or § 276 of the FCA.

        58.     Defendant’s failure to make full and adequate disclosures to their customers of

these charges violates 47 CFR § 64.2401 and, therefore, violates§ 201(b) and § 276 of the FCA.

        59.     Defendant has not filed its rates with the FCC.



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        60.       As a direct and proximate result of Defendant’s violations of the FCA, Plaintiffs

and the Class have been damaged in amounts to be determined at trial.

                                      COUNT II
                                UNJUST ENRICHMENT
                     (ON BEHALF OF THE PENNSYLVANIA SUB-CLASS)

        61.       Plaintiffs hereby incorporate by reference all paragraphs of this Complaint as if

fully set forth herein.

        62.       As a direct and proximate result of Defendant’s acts and practices alleged herein,

Defendant has been unjustly enriched and has obtained money, earnings, profits, and benefits

directly from Plaintiff and the Class to which Defendant is not otherwise entitled and which it

would not have obtained but for their charging of rates, fees, and penalties that are unjust,

unreasonable, and greatly exceed market rates and costs of providing services.

        63.       Defendant’s practices were intentional, knowing, malicious, or done with the

intent to reap significant benefits at the expense of Plaintiffs and the Class.

        64.       Defendant is not entitled to this enrichment, was prohibited from engaging in the

acts and practices that generated this enrichment by § 201(b) and/or § 276 of the FCA, and

obtained this enrichment to the detriment of Plaintiffs and the Class.

        65.       Plaintiffs and the Class reasonably expected that they would only have to pay

market rates for intrastate calls and would not have to incur other charges that provide no

commensurate benefit to them.

        66.       Plaintiffs and the Class have suffered, and will continue to suffer, actual damages

and injury-in the form of telephone rates and fees that exceed market rates and costs of providing

services-as a result of Defendant’s unjust retention of proceeds from their acts and practices

alleged herein.




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         67.   Under principles of equity and justice, Defendant should be required to restore the

above-described unjust enrichment to Plaintiffs and the Class in amounts to be determined at

trial.

                                COUNT III
         VIOLATIONS OF THE PENNSYLVANIA UNFAIR TRADE PRACTICES
             AND CONSUMER PROTECTION LAW, 73 P.S. § 201-2(XXI)
               (ON BEHALF OF THE PENNSYLVANIA SUB-CLASS)

         68.    Plaintiffs repeat and re-allege every allegation above as if set forth herein in full.

         69.    Plaintiffs bring this claim on their own behalf and on behalf of each member of

the Pennsylvania Class against Defendant GTL.

         70.   This is a claim for violation of the Pennsylvania Unfair Trade Practices and

Consumer Protection Law (“UTPCPL”), 73 P.S. § 201-2(xxi).

         71.   At all relevant times material hereto, Defendant conducted trade and commerce

within the meaning of the UTPCPL. Plaintiffs and the Class are “persons” as defined and

construed under the UTPCPL.

         72.   Defendant GTL’s conduct as set forth herein constitutes an unconscionable, and

illegal commercial practice comprised of deceptive acts or practices in violation of the UTPCPL,

73 P.S. § 201-2(xxi).

         73.   Defendant has acted deceptively by unconscionably and illegally imposing unjust,

unreasonable, and unfair charges for intrastate calls.

         74.   Defendant has acted deceptively by unconscionably and illegally imposing unjust,

unreasonable, and unfair fees and penalties (apart from the per minute rates) for intrastate calls.

         75.   Plaintiffs and the Class reasonably expected (and relied on Defendants) to ensure

that they would only have to pay the legal rates for intrastate calls and would not have to incur

other illicit charges that provide no commensurate benefit to them.



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       76.     Defendant’s conduct as set forth herein has been unfair and in violation of the

UTPCPL because the acts or practices violate established public policy, and because the harm

they cause to consumers in Pennsylvania greatly outweighs any benefits associated with those

practices. Plaintiffs and the Pennsylvania Class suffered actual and ascertainable losses of money

or property as a result of Defendant’s unconscionable, deceptive and/or unfair trade practices.

                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs request that this Court enter a judgment against Defendant and

in favor of Plaintiffs and the Class and award the following relief:

               (a)     Certification of this action as a class action pursuant to Fed. R. Civ. P.
                       23(b)(l), (b)(2), or (b)(3) on behalf of the Class and Pennsylvania Subclass
                       as defined above;

               (b)     Declaration, judgment, and decree that the conduct alleged herein:

                              Constitutes an unreasonable and unlawful act in violation of the
                               FCA;

                              Violates the UTPCPL, and

                               Unjustly enriched Defendant;

               (c)     Damages to Plaintiffs and the Class to the maximum extent allowed under
                       state and federal law;

               (d)     Costs and disbursements of the action;

               (e)     Restitution and/or disgorgement of Defendant’s ill-gotten gains;

               (f)     Pre- and post-judgment interest;

               (g)     Reasonable attorneys' fees; and

               (h)     Such other and further relief as this Court may deem just and proper.

                                     JURY TRIAL DEMAND

       Plaintiffs request a jury trial on all issues so triable.




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Date: April 23, 2015                       Respectfully submitted,

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